               Case 1:19-cv-00495-GTS-TWD Document 14 Filed 03/17/22 Page 1 of 1


                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF NEW YORK

John M. Domurad                                                                  James T. Foley U.S. Courthouse
Clerk of Court                                                                   445 Broadway, Room 509
                                                                                 Albany NY 12207-2936
Daniel R. McAllister                                                             (518) 257-1800
Chief Deputy


                                                  March 17, 2022


        In re: Brown, et al. v. Johnson & Johnson; 1:19-CV-495 (GTS/TWD)


        Dear Counsel:

                It has been brought to my attention that Chief Judge Glenn Suddaby, who was assigned
        in the above-mentioned case, may have owned a limited amount of stock in Johnson & Johnson.
        This case was remanded to state court via a decision by Chief Judge Suddaby on plaintiffs’
        motion to remand where defendant withdrew any objection, therefore, we have no reason to
        believe that his ownership of stock affected or impacted this case. However, his stock ownership
        would have required recusal under the Code of Conduct for United States Judges, and thus, I
        notify the parties of the conflict.

        Advisory Opinion 71, from the Judicial Conference Codes of Conduct Committee, provides the
        following guidance for addressing disqualification that is not discovered until after a judge has
        participated in a case:

                [A]judge should disclose to the parties the facts bearing on disqualification as soon as
                those facts are learned, even though that may occur after entry of the decision. The
                parties may then determine what relief they may seek, and a court (without the
                disqualified judge) will decide the legal consequence, if any, arising from the
                participation of the disqualified judge in the entered decision. Although Advisory
                Opinion 71 contemplated disqualification after a Court of Appeals oral argument, the
                Committee explained “[s]imilar considerations would apply when a judgment was
                entered in a district court by a judge, and it is later learned that the judge was
                disqualified.”

        With Advisory Opinion 71 in mind, you are invited to respond to this disclosure of a conflict in
        this case. Should you wish to respond, please submit your response on or before March 28, 2022.
        Any response will be considered by another judge of this court without the participation of Chief
        Judge Suddaby.


                                                                             Sincerely,


                                                                             John M. Domurad
                                                                             Clerk of Court
